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                       IN THE UNITED STATES DISTRICT COURT

                       FOR THE WESTERN DISTRICT OF VIRGINIA



UNITED STATES OF AMERICA                         Case No. 1:20: CR 000041-001

    Plaintiff
                                                            CLERK'S OFFICE U.S. DISTRICT COURT
                                                                      AT AOINGC>ON, VA
         v.                                                                FILl::O


STACEY ELAM POMRENKE                                                 FEB 12 2025
   Defendant                                                 BY:   Ltt'~'1A.1111f;_
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                                                                                        ~
                                                                      DEPUT CLERK




       MOTION FOR EARLY TERMINATION OF SUPERVISED RELEASE



Defendant Stacey Elam Pomrenke, prose, hereby requests the Court to
terminate the remaining term of my supervised release pursuant to 18 U.S.C.
Section 3583(e}(1 ). My three year term of supervised release began on July 14,
2023. I have already completed over half of my supervisory term .

I am being supervised in the Western District of Virginia where I live and work.
Prior to filing this Motion, I asked my Probation Officer Brooke Rhymer if she
objected to my filing this Motion and she advised me that she had no
objection.

18 U.S.C. Section 3583(e}(1) authorizes the Court to terminate a defendant's
term of supervised release at any time after the expiration of one year of
supervised release if the Court is "satisfied that such action is warranted by
the conduct of the defendant released and the interest of justice."

Section 3583(e) directs the Court to consider the purposes of sentencing set
forth in 18 U.S.C. Section 3553(a) in deciding whether to grant a motion for
early termination of supervised release. The Judicial Conference identified
the following factors to consider:
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Officers should consider the suitability of early termination for offenders as
soon as they are statutorily eligible. The general criteria for assessing whether
a statutorily eligible offender should be recommended to the court as an
appropriate candidate for early termination are as follows:

   1. Stable community reintegration (e.g., residence, family, employment);
   2. Progressive strides toward supervision objectives and in compliance
      with all conditions of supervision;
   3. No aggravated role in the offense of conviction, particularly large drug or
      fraud offenses;
   4. No history of violence;
   5. No recent arre~ts or convictions or (including unresolved pending
      charges), or ongoing, uninterrupted patterns of criminal conduct;
   6. No recent evidence of alcohol or drug abuse;
   7. No recent psychiatric episodes;
   8. No identifiable risk to the safety of any identifiable victim;
   9. No identifiable risk to public safety based on the Risk Prediction Index.

Pursuant to the policy, there is a presumption in favor of recommending early
termination for supervisees after the first 18 months if they are notcareer
violent and/or drug offenders, sex offenders, or terrorists if they present no
identified risk to the public or victims and if they are free from any moderate or
high severity violations.

I have satisfied all of the above listed factors set forth for early termination. I
have completed all terms of my supervision and have no need for
programming or treatment. I have paid all fines and costs and restitution and
owe nothing. I have fully complied with all conditions of my supervised
release and have done-everything asked fo(by my probation officer. As I
mentioned, my Probation Officer does not oppose this Motion.

I self-surrendered and served my time without incident. My supervision has
Likewise been without incident. I have had steady employment since my
release. I help support my family-and currently pay for my daughter to attend
Virginia Tech. Our son is a junior at Abingdon High School and I am very
involved in his school and athletic activities. Our family attends church
regularly and I have lived at the same residence I built since 1997.
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I have fully complied with all terms of my supervision and every condition
asked of me. I consider myself fully reintegrated into society. I have satisfied
every one of those 9 factors listed above. As a result, I consider myself an
ideal candidate for early termination of supervised release.

I respectfully request this Court to grant my Motion for Early Termination of
Supervised Release. Thank you.



                                                 Respectfully submitted,




                                                Stacey Elam Pomrenke

                                                Prose

                                                17763 Mahogany Drive

                                                 Abingdon, VA 24210

                                                 276-791-6937

DATED: February 6, 2025




CERTIFICATE OF SERVICE

On this day, February 6, 2025, I mailed a copy of this Motion to the United
States Attorney's Office at 31 OCummings Street, Abingdon, Va. 2421 o.




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                                                Stacey Elam Pomrenke
